                                                 Resolutions Department

                                                     TRSI
                                                      recovery urvlcea,.
                                                        TRS RECOVERY
                                                        SERVICES, INC.



September 21, 2022
                                                                                                        IMPORTANT NOTICE:
                                                                                                    REFER TO TRACKING NUMBER
                                                                                                              469282
STEVEN R BROWN                                                                                    IN ALL FUTURE CORRESPONDENi
211 GRANT A VE RM 203A
MORGANTOWN, WV 26505




RE: Original Creditor: L YFT lNC
    Current Creditor: TeleCheck Services LLC
    Reference Number(s) 44-222084425059, 44-222154425062


Dear STEVEN R BROWN,

Your dispute has been received by TRS Recovery Services, Inc. (TRS). However, we will not begin an investigation of your
claim at this time because:

1.   _ _This was a duplicative dispute. Your dispute was substantially the same as a dispute previously submitted directly to
     TRS or through one of the consumer reporting agencies to which TRS furnishes information. TRS previously
     reinvestigated that dispute and delivered its findings. If you want us to reinvestigate, please provide new, relevant
     information.

     OR

2.   _ _Your dispute is from, was prepared by or appeared on a form furnished by a credit repair organization. 1 If you want
     us to reinvestigate the dispute, please provide the dispute through yourself or someone other than a credit repair org.

     OR

3.   _X_We lack sufficient information to begin a reinvestigation. In order to reinvestigate, we need, at a minimum,
     information to authenticate your identity, locate the records at issue and understand the nature of your dispute. To
     satisfy this requirement, you will need to provide:
               Details about the dispute that will inform us of the nature of the dispute
              Your Social Security #
              A copy of your driver's license or state-issued ID
              Bank routing/account number for all records at issue

1
  The term "credit repair organization" (A) means any person who uses any instrumentality of interstate commerce or the mail to sell,
provide or perform (or represents that such person can or will sell, provide or perform) any service, in return for the payment of
money or other valuable consideration, for the express or implied purpose of - (i) improving any consumer's credit record, credit
history, or credit rating; or (ii) providing advice or assistance to any consumer with regard to any activity or service described in
clause (i); and (B) does not include - (i) any nonprofit organization which is exempt from taxation under section 50l(c)(3) of Title 26
of the United States Code; (ii) any creditor (as defined in section 1602 of title 15 of the US Code with respect to any consumer, to the
extent the creditor is assisting the consumer to restructure any debt owed by the consumer to the creditor; or (iii) any depository
institution (as that term is defined in section 1813 of Title 12 of the US Code) or any Federal or State credit union (as those terms are
defined in section 1752 of title 12 of the US Code), or any affiliate or subsidiary of such a depository institution or credit union.
                           FISERV PUBLIC
                                        1600 Terrell Mill Rd., Marietta, GA 30067
                                  Correspondence: P.O. Box 674169, Marietta GA 30006
                    Call Center Operating Hours: Monday-Friday 8:00 am-5:00 pm ET-1-800-366-1048
                                                                                                                             Page 1 of6
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             Reference numbers of the debts at issue or, identification of the debts by check number, amount, date and payee
      X      A TRS Forgery/Identity Theft Declaration (form enclosed) listing all disputed items
             Or A copy of a filed police report detailing the specifics of debts at issue
             Or A completed Identity Theft Victim's Complaint and Affidavit form available at www.ftc.gov
             Or Any other documentation you have pertaining to a claim of forgery or ID theft

We also ask that you provide a phone number where you may be reached during business hours if we have questions. You
may fax this information to (402) 934-3721. Please contact TRS Recovery Services Inc. , Monday-Friday 8:00 a.m. to 5:00
p.m. CST.

Be assured that information you provide is legally protected from unauthorized disclosure.


Sincerely,


Frankye Odom-Bell
TRS Recovery Services, Inc.




                                       This is a communication from a debt collector.
                                             This is an attempt to collect a debL
                                   Any information obtained will be used for that purpose.
                              SEE ENCLOSED FOR OTHER IMPORTANT INFORMATION




                         FISERV PUBLIC



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TRS Recovery Services, Inc. is required under certain state laws to notify consumers of the
following rights. This list does not contain a complete list of the rights consumers have under local,
state and federal law.

This is an attempt to collect a debt. Any information obtained will be used for that purpose. This is
a communication from a debt collector. Calls to and from TRS Recovery Services, Inc. may be
monitored and recorded.

If you have a dispute or inquiry, please write or fax to: TRS Recovery Services, Inc., P .0. Box
674169, Marietta GA 30006. Our facsimile number is 402-916-8140. Alternatively, if you would
like to complete the online inquiry or dispute form, please visit our website at -
www.trsrecoveryservices.com.

For California Residents: As required by law, you are hereby notified that a negative credit report
reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the
terms of your credit obligations.

For Colorado Residents: TRS Recovery Services, Inc. has a local Colorado office which is located at
2424 Garden of the Gods Road, Building C, Suite 266, Colorado Springs, CO 80919. The office hours are
Monday through Friday from 8:00 a.m. until 5:00 p.m. MT. Payments can be made in person at this
location if desired. Payments shall be in the form of a money order or cashier's check. No cash, debit or
credit card payments are accepted. TRS can be reached by telephone at 719-623-3577. Please note that
this location is for walk-in payments only. Do not send correspondence to this address.

For Maine Residents: TRS Recovery Services, Inc.' s hours of operation are Monday through Friday
from 8:00 a.m. until 5:00 p.m., ET. TRS can be reached at 1-800-366-1048.

For Maryland Residents: The law requires that TRS Recovery Services, Inc. provide consumers with
our Nationwide Multistate Licensing System Identifier and a link to their website where our information
as a financial services provider can be verified. NMLS Identifier: 920823. Website:
www.NMLSConsumerAccess.org

For Massachusetts Residents: NOTICE OF IMPORTANT RIGHTS. YOU HAVE THE RIGHT TO
MAKE A WRITTEN OR ORAL REQUEST THAT TELEPHONE CALLS REGARDING YOUR DEBT
NOT BE MADE AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL REQUEST WILL BE
VALID FOR ONLY TEN (10) DAYS UNLESS YOU PROVIDE WRITTEN CONFIRMATION OF
THE REQUEST POSTMARKED OR DELIVERED WITHIN SEVEN (7) DAYS OF THE REQUEST.
YOU MAY TERMINATE THIS REQUEST BY WRITING THE DEBT COLLECTOR.

This collection agency's hen.rs of operation are Monday through Friday from 8:00 a.m. until 5:00 p.m.,
ET.                          ·

For New York State Residents: Debt collectors, in accordance with the Fair Debt Collection Practices
Act, 15 U.S.C. § 1692 et seq., are prohibited from engaging in abusive, deceptive, and unfair debt
collection efforts, including but not limited to: (i) the use or threat of violence; (ii) the use of obscene or
profane language; and (iii) repeated phone calls made with the intent to annoy, abuse, or harass,

You have the right to request substantiation of a charged-off debt. To request substantiation, please
submit a written request to TRS Recovery Services, Inc., P.O. Box 674169, Marietta, GA 30006. Please
include your reference number. You can also request substantiation of a charged-off debt by calling us at
1-800-366-1048.

For New York City, New York Residents: TRS Recovery Services, Inc. is licensed by the New York
City Department of Consumer Affairs: License Number 1157511. TRS provides IVR options in Spanish
                       FISERV PUBLIC



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as well as Spanish-speaking agents to orally communicate with NYC residents. It does not maintain
processes to translate its written communications to NYC residents into a language other than English.
However, translations, as well as descriptions of commonly used debt collection terms are available in
multiple languages on the website of the New York City Department of Consumer Affairs at
www.nyc.gov/dca. If you wish to notify TRS of your preferred language or speclk to a live representative,
contact TRS Recovery Services, Inc. at 1-888-237-1530 and ask for Tracey Johnson.

For North Carolina Residents: TRS Recovery Services, Inc. is licensed by the North Carolina
Department of Insurance: Permit Number 582014180.

For Tennessee Residents: TRS Recovery Services, Inc. is licensed by the Collection Service Board of
the Tennessee Department of Commerce and Insurance.

For Utah Residents: As required by Utah law, you are hereby notified that a negative credit report
reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the
terms of your credit obligations.

For Washington Residents: TRS Recovery Services, Inc.'s local office is located at 50 - 116th Ave. SE,
Suite 201, Bellevue, WA 98004 (Do not send payments to this address).

For West Virginia Residents: TRS Recovery Services, Inc. will relinquish your paper check when the
check and returned check fee have been paid-in-full. Please verify the address where the check is to be
sent by writing to P.O. Box 674169, Marietta, GA 30006, and include your reference number.

For Wisconsin Residents: TRS Recovery Services, Inc. is licensed by the Division of Banking in the
Wisconsin Department of Financial Institutions, www.wdfi.org.

For Yonkers, New York Residents: To speak with a live representative, contact TRS Recovery
Services, Inc. at 1-888-237-1530 and ask for Tracey Johnson.




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Account Holder First Name                   Middle Initial                Account Holder Last Name
STEVEN                                      R                             BROWN

Current Address (Street, City, State, Zip Code)
211 GRANT AVE RM 203A, MORGANTOWN, WV 26505

Joint Account Holder Last Name                          Joint Account Holder First Name


Home Telephone No.                  Daytime Telephone No.                 Cell Phone No.


Account Holder & Joint Account Holder ID/Driver's              Account Holder & Joint Account Holder
License (#s)                                                   Social Security #(s)


                                    Name of Financial Institution      Is this Account Closed?
                                                                       Yes= Y No= N

                                    Bank Routing Number Affected       Bank Account Number Affected


                                     olen            Beginning Check # / End Check #




                                   Amount          Made Payable to
99239863          7/10/2022        $185.00         LYFT INC

99969395          7/16/2022        $185.00         LYFTINC




44-222084425059, 44-222154425062




                   FISERV PUBLIC


                                                                                           Page 5 of6
     Case 2:22-cv-01217-NJ Filed 10/17/22 Page 5 of 14 Document 1-1
    '
•

         By signing below, I declare: (please choose the appropriate answer's)


         DI did or D did not receive any benefit or value from the proceeds of the check(s)
         listed


         D I did or D did not receive any money, goods, services, or other benefit as a result of
         the events described in this report.
         All of the information on and attached to this declaration is true, correct, and
         complete and made in good faith. I understand that this declaration or the
         information it cont~ins may be made available to federal, state, and/or local law
         enforcem~nt agencies for such action within their jurisdiction as they deem
         appropriate. I understand that knowingly making any false or fraudulent statement or
         representation to the government may violate federal, state, or local criminal statutes
         and may result In a fine, imprisonment, or both.
         I declare, under penalty of perjury, that the foregoing is true and correct.

         _x.__________
         Signature of Declarant (If business Account, Include Title)


         Date!....X_ _ _ _ _ _ _ _ __
          X- - - - - - - - - -
         Printed Name of Declarant


         (Circle one) I am or I am not willing to work with law enforcement if charges are brought
         against the person(s) who committed the fraud.
        , If you do not choose to file a report with law enforcement, you may use this form as
          an lden,lfy Theft Declaration to prove to each of the companies where the thief
          misused your information that you are not responsible for the fraud.
                                            Please Mail to: TRS Recovery Services, Inc., Attn: Forgery
                                                            Dept.
                                                            P.O. Box 674169
                                                            Marietta, GA 30006
                                                                                  .
                                                            Or FAX to:   (402) 934-3721




                            FISERV PUBLIC


                                                                                          Page 6 of6
              Case 2:22-cv-01217-NJ Filed 10/17/22 Page 6 of 14 Document 1-1
  ~TRSI
      recovery services SM

      July 31, 2022                                                                                       To:       BROWN STEVEN
                                                                                                                    306 CROSS CREEK LN
                                                                                                                    MINERAL WELLS, WV 26150
      · TRS RECOVERY SERVICES, INC.
        1600 TERRELL MILL RD.                                                                                       Reference: 44222084425059
        MARIETTA, GA 30067
        1-800-366-1048, 8am -10pm Mon -Thur ET, 8am - 5pm ET Fri


      TRS RECOVERY SERVICES, INC. Is a debt collector. We are trying to collect a debt that originated with Lyft Inc. We
      will use any information you give us to help collect that debt.


       Our Information shows:                                                                         How can you dispute the debt?
      You have or had an unpaid balance with Lyft Inc under                                            • Call or write to us by September 14, 2022 to dispute all or part
      your Account Number 5965                                                                           of the debt. If you do not, we will assume that our information
                                                                                                         is correct.
      CURRENT CREDITOR: Lyft Inc                                                                       • If you write to us by September 14, 2022 we must stop
                                                                                                         collection on any amount you dispute until we send you
      As of July 31, 2022 you owed:                                                  $185.00             information that shows you owe the debt. You may use the
                                                                                                         form below or write to us without the form. You may also
      Between 07/10/22 and today, you were charged:                                                      include supporting documents. We accept disputes
                                                                                                         electronically at www.trsrecoveryservices.com.
        This amount in interest:                                                         $0.00
                                                                                                      What else can you do?
        This amount in fees:                                                             $0.00         • Write to ask for the name and address of the original creditor,
      Between 07/10/22 and today, you paid                                                               if different from the current creditor. If you write by September
       or were credited toward the debt:                                                 $0.00           14, 2022, we must stop collection until we send you that
                                                                                                         information. You may use the form below or write to us withou1
                                                                                                         the form; We accept such requests electronically at
      Total amount of the debt now:                                                  $185.00             www.trsrecoveryservices.com.

                                                                                                       • Go to www.cfpb.gov/debt-collection to learn more about your
                                                                                                         rights under federal law. For instance, you have the right to
                                                                                                         stop or limit how we contact you.
                                                                                                       • Contact us about your payment options .

      .Notice,;_ See reverse side for important information



                                                                                                       How do you want to respond?
                                                                                                       Check all that apply:
              Return Mail Processing Center
                                                                                                            D I want to dispute the debt because I think:
              P.O. Box 674229         :                                                                         D This is not my debt.
              Marietta, GA 30006                                                                                D The amount is wrong
              ELECTRONIC SERVICE REQUESTED                                                                      D Other (please describe on reverse or attach
                                                                                                                   additional information).
                                                                                                            D I want you to send me the name & addre11 of the orl!
 4422208~4250597000185008008000000009                                                                          creditor.
                                                                                                            DI enclose this amount$_ _ _ _ _ _ _.

                       MDG2022 00003349 00
                                                                                                            Make your check payable to TRS.Recovery Services.
                       11•1 111•111 11 1•1 1•1•••1•1111 11• 11••11•1•• 111111 11•1 1111 1•• 1111111         Include the Ref. Number 44222084425059orvisit
                                                                                                            www:trSrecoveryservices.com for payment options,

                          BROWN STEVEN
* *                       306 CROSS CREEK LN                                                                          TRS Recovery Services, Inc
                          MINERAL WELLS, WV 26150                                                                     Payment Processing Center
                                                                                                                      PO BOX 60022
                                                                                                                      City of Industry, CA 91716-0022

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\/alldatlon Notice                                                                                                               (


Unless you notify this office within thirty (30) .days after receiving this notice that you dispute the validity .of this debt, ·or    ,•
any portion thereof, this office will assume this debt is valid. If you notify this office in writing within thirty (30) days from
receiving this notice that you dispute the validity of this debt or any portion thereof, this office will obtain verification of the
debt or obtain a copy of the judgment and mail you a copy of such verification or judgment. If you request of this office in
writing within thirty (30) days after receiving this notice, this office will provide you With the name and address of the
original creditor, if different from the current creditor.

This is an attempt to collect a debt. Any information obtained will be used for that purpose. This is a communication from
a debt collecto'r.

If you have a dispute or inquiry, please write or fax to:
         TRS Recovery Services, Inc.
         P.O. Box 674169
         Marietta, GA 30006
         Fax: 402.916,8140

Or   if   you   would          complete the onllne Inquiry or dispute form, please visit our website at
                        like . to
www,trsrecgyeryservjces.com.  The form may be_f~ed or rn.@Ued to the Ql.l[Tlberiaddress provided. P~e- Incl~ your
reference number in all correspondence. The reference number can be found in the reference number field on your
notice.

TRS Recovery Services, Inc. is required under certain state laws to notify consumers of the following rights. This list does
not contain a complete fist of the rights consumers have under state and federal law.

For West Virginia Residents: TRS Recovery Services, Inc. will relinquish your paper check .when the check and
returned check f•e have been paid in full. Please verify the address where the check is to be sent by writing to us at:

          TRS Recovery Services, Inc.
          P.O. Box 674169
          Marietta, GA 30006
          Fax: 402.916,8140

Please include .your reference number in all correspondence.           The reference number can be found in the reference
number field on your notice.




          Please send GENERAL CORRESPONDENCE to the following address:

          TRS RECOVERY SERVICES, INC.
          PO BOX 674169
          Marietta, GA 30006




                          Case 2:22-cv-01217-NJ Filed 10/17/22 Page 8 of 14 Document 1-1
          USAA Federal Savings Bank
          10750 McDermott Freeway
          San Antonio, Texas 78288-0544
                                                                                             July 25, 2022


STEVEN ROBERT BROWN
3U6 C~OSS ~1:1::K LN
MINERAL WELLS, WV 26100




Reference: USAA ACH Dispute - Permanent Crvdit Issued

Dear STEVEN ROBERT BROWN,
We appreciate your patience while \Y8 researched your dispute below:

Dispute 10: 211n215
Dispute daht: July 21. 2022
Account ending in: 5965


After a thorough investigation, we have resolved the dispute in your fawr. We have issued a credit to your
aooount in the amount of $185.00 on July 25, 2022. No further action on your pert is required.

If you have questions, please call us at 210-531-1.JSAA (8722), our mobile shortcut #8722 or 800-531-
8722. Our hours are Monday through Friday, 8 a.m. to 5 p.m. CT. Please have your USAA number
available when you call.
We value your business end the opportunity to serve ell your ftnenciel needs.

Merchant Name:             Transaction Date:         Transaction Amount:
LYFT MEMBERSHIP                 07/11!2022              $185.00




Thank you,

USAA Federal savings Bani<

Important: If you requested a stop payment during the dispute, then a permanent stop payment was
placed according to your instructions. Please see the enclosed stop Payment FAQs for further information.

Some deposit accounts are issued by USAA Savings Bank and are selViced by USAA Federal Savings
Bank.




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Case 2:22-cv-01217-NJ Filed 10/17/22 Page 9 of 14 Document 1-1
                                                                                               1:l8b4b-1018
          USM Federal Savings Bank
          10750 McDermott Freeway
          San Antonio, Texas 78288-0544
                                                                                              July 25, 2022


STEVEN R08ERT BROWN
306 CROSS CREEK LN
MINERAL WELLS, WJ 26150




Reference: Results of Your Transaction Dispute

Dear STEVEN ROBERT BROWN,

Thank ynu for ynur MnfidP.nM in USAA WP. r.nmplP.tP.d nur i~tigatinn ri thP. tranAAetinn diAputP. hP.ICMI
and found that the merchant issued credit to your account.

Dispute ID: 211n21s
Dispute date: July 21, 2022
Account ending In: 5966


About Our Decision
We based our decision on the Information we had avallable at the time ~ our revtew. This concludes our
inveetigation of this matter, and no further action will be taken.

Jf Y.DtJ have questions. please call us at 210-531-USAA (8722). our mobile shortcut #8722 or 800-531-8722.

Merchant Name:         Transaction Date:       Transaction Amount:
LYFT MEMBERSHIP               07/1412022                $185.00




Thank you,

USAA Federal Savings Bank

Important: If you requested a stop payment during the dispute, then a permanent stop payment was
placed according to your instructions. Please see the enctosed Stop Payment FAQs for further information.

Sume dttp<)t;il tlCX:UUf1ls Hte i:mued by USAA &vinys Bu111< c1mJ we :se1viced by USAA Feden.11 &vi11gs
Bank.




                                                                                                12833S-1018
Case 2:22-cv-01217-NJ Filed 10/17/22 Page 10 of 14 Document 1-1
          USAA Federal Savings Bank
          10750 McDermott Freeway
          San Antonio, Texas 78288-0544
                                                                                           August 01, 2022


STEVEN ROBERT BROWN
306 c.;~oss c.;t{l::l::K LN
MINERAL WELLS, WV 26150




Reference: USM ACH Dispute - Permanent Credit Issued

Dear STEVEN ROBERT BROWN,
We appreciate your patience whlle we researched your dispute below:

Dispute ID: 21854237
Dispute date: July 29, 2022
Account ending in: 5965

After a thorough investigation, we have resolved the dispute in your favor. We have issued a credit to your
aooount in the amount of $185.00 on August 01 , 2022. No further aotion on your part is required.

If you haw questions, please oall us at 210-531-USAA (8722), our mobile shortcut #8722 or 800-531-
8722. Our hours are Monday through Friday, 8 a.m. to 5 p.m. CT. Please have your USAA number
available when you call.

We value your business and the opportunity to serve all your financial needs.

Merchant Name:  Transaction Date:                     Transaction Amount:
LYFT MEMBERSHIP      07/1812022                          $185.00




Thank you,

USAA Federal savings Bank

Important: If you requested a stop payment during the dispute, then a permanent stop payment was
placed according to your instructions. Please see the enclosed Stop Payment FAQs for further information.

Some deposit accounts are issued by USAA Savings Bank and are serviced by USAA Federal Sav;ngs
Bank.




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· From: Lyft Bikes & Scooters <support@lyft-bikes-scooters.zendesk.com>
  To: Steven Brown <steviedvd@msn.com>
  Received: July 17, 2022 7:48:31 PM EDT
  [Lyft] Re: Follow-up from Lyft



  ##- Please type your reply above t his line -##

  Your request (190396567) has been updated. To add additional comments, reply to this email.



               Paula Alejandra (Lyft Bikes & Scooters)
               Jul 17, 2022, 6:48 PM CDT


               Hello Steven,

               This Is Paula from Citi Bike support.

               Thanks for reaching out! After a review of your account, we see less than 14 days have
               passed since the start of your current annual membership. We can confirm that we've
               canceled your membership and issued a full refund!

               You should see this $185.00 reflected in your account within 5-7 business days,
               depending on your financial Institution.

               In some minutes, you will receive a short email survey to let Lyft know-how was my
               assistance In our Interaction. It will appear as "Your recent experience with Lytt• I'll be
               more than grateful if you can take a couple of minutes to fill it out.

               To finish, I personally want to make sure you're taken care of, so please feel free to reach
               out with anything else, we'll always work the extra mile for you. Please stay safe out
               there!

               Wishing you nothing but the best,

               -Paula
               Lyft Support Representative Need help?
               wwwJyft.com/scooters
               wwwJyft.com/bJkes


  This email is a service from Lyft Bikes & Scooters. Delivered by ZOQdeak




        Case 2:22-cv-01217-NJ Filed 10/17/22 Page 12 of 14 Document 1-1
From: Lyft Bikes & Scooters <support@lyft-bikes-scooters.zendesk.com>
To: Steven Brown <stevledvd@msn.com>
Received: July 21, 2022 12:37:18 PM EDT
[Lyft] Re: Follow-up from Lyft




 ##- Please type your reply above this li ne-##

 Your request (190396567) has been updated. To add additional comments, reply to this email.



              Steven Brown
              Jul 21 , 2022, 11 :37 AM CDT


              I was charged three times. I see I was refunded for one of those times, but never got the
              $370 back from the other two. Please refund those too. Thanks



 This ema il is a service from Lyft Bikes & Scooters. Delivered by Zer,deak




        Case 2:22-cv-01217-NJ Filed 10/17/22 Page 13 of 14 Document 1-1
From: Lyft Bikes & Scooters <support@lyft-bikes-scooters.zendesk.com>
To: Steven Brown <steviedvd@msn.com>
Received: July 21, 2022 1:46:42 PM EDT
[Lyft] Re: Follow-up from Lyft




 ##- Please type your reply above this line -##

 Your request (190396567) has been updated. To add additional comments, reply to this email.



              Kathy (Lyft Bikes & Scooters)
              Jul 21, 2022, 12:46 PM CDT


              Hi Steven,

              Thank you for taking the time to bring this to our attention.

              Steven, after checking all the Information about the charges we are pleased to confirm
              the other times the system tried to process the amount, the payment was not carried out
              because of an error with the card ending In 5965.

              If you still see the pending fee, we recommend getting in touch with your financial
              Institution to update the Information.

              We want nothing but the best for our community members! If there is anything else we
              can do for you, don't hesitate to email us.

              Regards,

              Kathy
              Lyft support representative
              Need help
              lyft.com/scooter
              lyft.com/bikes



 This email is a service from Lyft Bikes & Scooters . Delivered by ZeodRk




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